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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

IN RE:                                                        CASE NO.: 16-15918-RAM
                                                              CHAPTER 11
ACE’S INDOOR SHOOTING RANGE
& PRO GUN SHOP, INC.

             Debtor.
____________________________________/

 CREDITOR, NATIONAL FUNDING, INC.’S OBJECTION TO PLAN OF REORGANIZATION
              (DOC. 111) AND DISCLOSURE STATEMENT (DOC. 112)

         COMES NOW, NATIONAL FUNDING, INC., (“Creditor”), by and through its undersigned counsel,

and files this Objection to the Debtor’s Plan of Reorganization (Doc. 111) and Disclosure Statement (Doc.

112) and objects for the following reasons:

         1.      Creditor objects in that the Plan payments during the first year will be interest only.

         2.      Creditor objects in that it will be paid over six (6) years, as opposed to five (5) years (or less).

         3.     Also, Debtor also attempts to reduce the interest rate or otherwise provides an inadequate

interest rate of 3.5% from years two (2) through six (6).

         4.     Given that the assets will purportedly be transferred to a third party, the Plan fails to provide a

vehicle for Creditor to unequivocally retain the liens securing its interest, such as an amended UCC, or

otherwise, in connection with the new purchaser - thus, leaving Creditor potentially without a remedy upon a

default of the Plan. Also, the purchaser’s mean to pay Creditor’s claim is not adequately addressed.

         5.      In an abundance of caution, Creditor objects to the Plan to the extent that the Plan attempts or

may attempt to release any guarantor(s), if any, or otherwise attempts to enjoin Creditor in any way from taking

any action against any guarantor(s), if any (as allowable by law). Under such circumstances, the Debtor must

demonstrate that any non-debtor release is fair and necessary, using the factors outlined In re Transit Group,

Inc., 286 B.R. 811, 817 (Bankr. M.D. Fla. 2002) (Jennemann, J.). Accordingly, the Court specifically stated

that since Section 524(e) does not provide for a release of a third party from liability, a release of non-debtor

can only be done in unusual circumstances. Id. at 817. See, generally, In re HWA Props, 544 B.R. 231 (Bankr.


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M.D. Fla. 2016) (Delano, C). Also, in an abundance of caution, Creditor objects to the Plan to the extent that

the Plan attempts or may attempt to deduct adequate protection payments from the secured claim amount.

        6.      Creditor reserves its rights to further object to the Plan and/or Disclosure Statement.

        WHEREFORE, Creditor, NATIONAL FUNDING, INC., respectfully requests the Court to sustain its

objection accordingly, and grant such other further relief as this Court deems appropriate.

        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the

Southern District of Florida and I am in compliance with the additional qualifications to practice in this Court

set forth in Local Rule 2090-1(A).

        I HEREBY CERTIFY that on this 18th day of November, 2016, I electronically filed the foregoing

Objection to Plan of Reorganization and Disclosure Statement with the Clerk of the United States Bankruptcy

Court for the Southern District of Florida by using the CM/ECF system and I furnished a copy of the Objection

to the parties listed below in the manner indicated.

                                                            EMANUEL & ZWIEBEL, PLLC
                                                            Attorneys for National Funding, Inc.
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                                                            By:       /s/ Ronald M. Emanuel
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Via CM/ECF system which will send Notice of Electronic filing to:
Jacqueline Calderin, Esq., at jc@ecclegal.com
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Matthew A. Petrie, Esq., at map@ecclegal.com
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Office of the US Trustee
All parties on the attached matrix designated to receive electronic notice

Via U.S. Mail
Ace’s Indoor Shooting Range & Pro Gun Shop, Inc.
2105 NW 102 Place
Miami, Florida 33172




                                                       2
Label Matrix for local noticing Case 16-15918-RAM
                                             Ace’s IndoorDoc   117RangeFiled
                                                          Shooting        & Pro 11/18/16
                                                                                Gun S      Page
                                                                                             BMW 3Financial
                                                                                                    of 4 Services NA, LLC
113C-1                                       2105 NW 102 Place                                c/o Ascension Capital Group
Case 16-15918-RAM                            Miami, FL 33172-2519                             P.O. Box 201347
Southern District of Florida                                                                  Arlington, TX 76006-1347
Miami
Thu Nov 3 15:36:29 EDT 2016
National Funding, Inc.                       American Express                                 American Express Bank FSB
c/o Emanuel & Zwiebel, PLLC                  200 Vessey Street 10285-0002                     c/o Becket and Lee LLP
7900 Peters Road                                                                              PO Box 3001
Building B                                                                                    Malvern PA 19355-0701
Suite 100
Plantation, FL 33324-4045
Angela Rodriguez                             (p)BMW FINANCIAL SERVICES                        Bank of the West
4701 SW 142 Court                            CUSTOMER SERVICE CENTER                          201 N. Civic Drive
Miami FL 33175-4324                          PO BOX 3608                                      Suite 360B
                                             DUBLIN OH 43016-0306                             Walnut Creek, CA 94596-3896


Camfour                                        Century International                          Florida Departement of Revenue
65 Westfield Ind Park Rd 01085-1693            430 South Congress Avenue                      P.O. Box 6668
                                               Suite 1                                        Tallahassee, FL 32314-6668
                                               Delray Beach, FL 33445-4701


Florida Department of Law Enforcement          Florida Department of Law Enforcement          Florida Department of Revenue
2331 Phillips Road                             PO box Drawer 7178                             5050 W Tennessee Street
Tallahassee, FL 32308-5333                     Tallahassee FL 32314-7178                      Tallahassee, FL 32399-0100



Geonan Holdings, LLC                           George De Pina                                 George de Pina
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Miami, FL 33265-0848                           Miami, FL 33265-0848                           Suite 220
                                                                                              Miami, FL 33176-1571


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100 Grainger Parkway                           11720 SW 113 Court                             343 Ives Diary Road, Apt# 6
Lake Forest, IL 60045-5202                     Miami, FL 33176-3818                           Miami FL 33179-3354



Hornady Ammunition                             (p)INTERNAL REVENUE SERVICE                    Internal Revenue Service
3625 West Old Potash Highway 68803-4905        CENTRALIZED INSOLVENCY OPERATIONS              PO Box 7346
                                               PO BOX 7346                                    Philadelphia, PA 19101-7346
                                               PHILADELPHIA PA 19101-7346


Kriss Newco USA                                Legacy Sports                                  Marlin Leasing
565 W Lambert Rd Suite F                       4750 Longley Lane #209                         300 Fellowship Road
Brea, CA 92821-3901                            Reno, NV 89502-5982                            Mount Laurel, NJ 08054-1727



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#1403                                          Suite 220                                      Pacheci Oerez Ortiz, PA
Miami, FL 33130-1561                           Miami, FL 33176-1571                           2121 SW 37th Avenue, Suite 200
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National Best Sports             Case 16-15918-RAM        Doc 117
                                              National Funding, Inc.               Filed 11/18/16    Page  4 of Funding,
                                                                                                       National  4       Inc.
4350 Fossil Creek Boulevard                          9820 Town Centre Drive                               c/o Neal Salisian, Esq.
Fort Worth, TX 76137-2740                            Suite 200                                            550 South Hope Street, Suite 750
                                                     San Diego, CA 92121-1944                             Los Angeles, CA 90071-2686


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Boca Raton, FL 33496-2434                            Suite 1204                                           Phoenix, AZ 85027-1331
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Progressive Waste                                    The Allen Co.                                        Total Bank
3840 NW 37th Court                                   525 Burbank Street                                   9690 NW 41st Street
Miami, FL 33142-4208                                 Broomfield, CO 80020-1647                            Miami, FL 33178-2444



TotalBank & AISOA                                    Trugloo, Inc.                                        Visa First Bank Card
2720 Coral Way                                       525 International Parkway                            c/o First national Bank of Omaha
Miami, FL 33145-3202                                 Richardson, TX 75081-2282                            PO Box 2340
                                                                                                          Omaha, NE 68103-2340


Wells Fargo Bank, N.A.                               Charles Berrane                                      Harry Stampler
300 Tri-StateInternational, Suite 400                9130 S. Dadeland Blvd.                               Virtual Appraisals, Inc.
Lincolnshire IL 60069-4417                           Suite 1800                                           6740 Taft St.
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


BMW Financial Services NA, LLC                       Internal Revenue Service                             (d)Internal Revenue Service
P.O. Box 3608                                        7850 SW 6 Court                                      PO Box 21126
Dublin, OH 43016                                     Mail Stop 5730                                       Philadelphia, PA 19114
                                                     Fort Lauderdale, FL 33324




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